                                                                                        DISTRICT OF OREGON
                                                                                             FILED
                                                                                          November 23, 2015
                                                                                     Clerk, U.S. Bankruptcy Court

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2           IT IS ORDERED AND NOTICE IS GIVEN that a hearing on the matter below shall be
            set by the court in a separate Notice of Hearing which may be enclosed with this Order.
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                                                                      _______________________________________
7                                                                                 RANDALL L. DUNN
                                                                                U.S. Bankruptcy Judge
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11
                                    UNITED STATES BANKRUPTCY COURT
12
                                       FOR THE DISTRICT OF OREGON
13

14
       In Re:
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       EVERGREEN VINTAGE AIRCRAFT, INC.
16                                                           Bankruptcy Case No. 14-36770-rld11
                       Debtor
17

18
       EVERGREEN VINTAGE AIRCRAFT, INC.                      Adversary Case No. 15-3078-rld11
19
                       Plaintiff,
20              v.                                           MOTION AND NOTICE OF INTENT TO
                                                             SETTLE AND COMPROMISE
21                                                           ADVERSARY PROCEEDING
       WORLD FUEL SERVICES, INC.
22
                                                             AND ORDER THEREON
                       Defendant
23

24              Evergreen Vintage Aircraft, Inc. (the “Plaintiff” or “Debtor”), as debtor in possession,

25     hereby moves this Court under Fed Rule Bankr. Proc. 9019 to settle and compromise the above

26     adversary proceeding on the following terms:


       1-                                                                  Motschenbacher & Blattner, LLP
PAGE          DEBTOR’S MOTION AND NOTICE OF INTENT                           117 SW Taylor Street, Suite 200
              TO SETTLE AND COMPROMISE ADVERSARY                                  Portland, OR 97204
              PROCEEDING, AND ORDER THEREON                                      Phone: (503) 417-0500
                                                                                  Fax: (503) 417-0501
                                Case 15-03078-rld       Doc 27     Filed 11/23/15
1
              1.       As part of a larger global settlement between multiple parties, the Debtor and
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       World Fuel Services, Inc. (“World Fuel”) agree that World Fuel’s lien is partially avoided.
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       World Fuel will retain its lien on the Debtor's A26 Invader, and will obtain title to and
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       possession of the Invader on the Effective Date of the Debtor's Plan of Liquidation. World Fuel
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       will maintain its unsecured claim in Bankruptcy Case No. 14-36770-rld11, and shall be paid
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       $400,000 pursuant to the Debtor's Plan.
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              2.       To effect the terms of the settlement, Umpqua Bank has agreed to limit the
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       amount of its “Contingent Payment” to $469,835.00.1 In addition to Umpqua Bank's
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       concessions, the Estate of Delford M. Smith will pay the Debtor $20,165 to make the Plan
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       feasible. Additionally, Debtor's counsel has agreed to limit its administrative claim for fees and
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       costs to $155,000, subject to approval by the Court.
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              5.       After payment to World Fuel, Umpqua Bank, professional fees and US Trustee
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       fees, the remaining amount of cash on hand would be paid to tax claims and non-affiliated
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       unsecured creditors. Umpqua Bank and World Fuel agree to the distribution amounts described
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       above, despite the fact that non-affiliated unsecured creditors will receive a higher percentage of
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       their claims.
17
                                                       ###
18
       Presented by:
19
       MOTSCHENBACHER & BLATTNER, LLP
20
       By:/s/ Nicholas J. Henderson
21     Nicholas J. Henderson, OSB No. 074027
       nhenderson@portlaw.com
22     117 SW Taylor Street, Suite 200
       Portland, OR 97204
23     Telephone: (503) 417-0500
       Attorney for Plaintiff / Debtor in Possession
24             Evergreen Vintage Aircraft, Inc.

25     1
        The “Contingent Payment” is defined in the Global Settlement Agreement Term Sheet
       approved by the Court pursuant to the Order Approving (1) Proposed Global Settlement; and (2)
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       Sale & Clear of Liens entered June 15, 2015 [Docket No. 118].


       2-                                                                  Motschenbacher & Blattner, LLP
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